                      UNITED STATES DISTRICT COURT
           EASTERN DISTRICT OF WISCONSIN – MILWAUKEE DIVISION

ROBYN MEATHENEY, individually and
on behalf of all others similarly situated,
                                              Case No.: 2:21-cv-00683-PP
       Plaintiff,                             COLLECTIVE ACTION
v.

ART’S PERFORMING CENTER, LLC
dba SILK EXOTIC ON WATER, a
Wisconsin Limited Liability Corporation;
DOWNTOWN JUNEAU
INVESTMENTS, LLC dba SILK EXOTIC
ON WATER, a Wisconsin Limited
Liability Corporation; SCOTT KRAHN, an
individual; LYLE MESSINGER, an
individual, and DOES 1 through 10,
inclusive,

       Defendants.




 PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO DISMISS DEFENDANTS’
                    RETALIATORY COUNTERCLAIMS




       TO THE COURT, THE PARTIES, AND ALL COUNSEL OF RECORD:

       PLEASE TAKE NOTICE that on a date and time set by the Court, before the Honorable

Pamela Pepper, Chief United States District Judge for the Western District of Wisconsin, located

at 517 East Wisconsin Avenue, Milwaukee, WI 53202, plaintiffs Robyn Meatheney and

Lanikiquia Taylor (collectively, “Plaintiffs”), by and through undersigned counsel, will, and

hereby do respectfully move, this Court for an order dismissing defendants Scott Krahn and Lyle

Messinger’s (“Messinger”) (collectively, “Defendants”) Counterclaims pursuant to Federal Rules
of Civil Procedure 12(b)(1) and 12(b)(6).

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       This motion is based upon Rules 12(b)(1) and 12(b)(6), this notice of motion and motion,

the brief in support submitted herewith, the Complaint on file in this action, the record in this

case, and any other evidence and argument that may be adduced at hearing.



 Dated: May 6, 2022                                  Respectfully submitted,

                                                     /s/ John P. Kristensen
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                                                     Attorneys for Plaintiffs




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                             CERTIFICATE OF SERVICE

        I certify that on Friday, May 06, 2022, the foregoing document titled PLAINTIFFS’
NOTICE OF MOTION AND MOTION TO DISMISS DEFENDANTS’ RETALIATORY
COUNTERCLAIMS was served via CM/ECF upon the following parties pursuant to Fed. R.
Civ. P. 5:


 Jeff Scott Olson                               Jay A. Urban
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 Counsel for Defendants                         Co-counsel for Plaintiffs



                                                     /s/ John P. Kristensen
                                                     John P. Kristensen




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